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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 WILMER CUTLER PICKERING HALE
 AND DORR LLP,
                                  Plaintiff,
                                                                          Case No. 1:25-cv-917
                 v.
                                                                          Judge Richard J. Leon

 EXECUTIVE OFFICE OF THE
 PRESIDENT, et al.,


                                  Defendants.


                              [PROPOSED] ORDER GRANTING
                      PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

        Upon consideration of Plaintiff Wilmer Cutler Pickering Hale and Dorr LLP’s Motion for

Summary Judgment; the memorandum, declarations, and exhibits submitted in support; and

arguments in support and in opposition, it is hereby ORDERED that Plaintiff’s Motion for

Summary Judgment is GRANTED. Executive Order 14250, entitled Addressing Risks From

WilmerHale and issued by the President on March 27, 2025 (“Order”), is hereby DECLARED

unconstitutional. It is further

        ORDERED that Defendants are PERMANENTLY ENJOINED from implementing or

giving effect to in any way, including by relying on any of the statements in Section 1 of the Order;

it is further

        ORDERED that Defendants must immediately issue guidance to their officers, staff,

employees, and contractors, instructing them to disregard the Order and carry on with their

ordinary course of business as if the Order had never issued; it is further
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       ORDERED that Defendants must take, in good faith, any other steps that are necessary to

prevent the implementation or enforcement of the Order; and it is further

       ORDERED that Defendant United States Department of Justice is directed to immediately

issue guidance to all other agencies subject to the Order, instructing them to disregard the Order

and carry on with their ordinary course of business as if the Order had never issued.

       This Order shall serve as the judgment of the Court.

       SO ORDERED.



 Dated: ________________________              /s/
                                             RICHARD J. LEON
                                             United States District Judge




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